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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

RHONDA JONES, et al.,                         )
                                              )
       Plaintiffs,                            )    CIVIL ACTION
                                              )
v.                                            )    FILE NO. 1:20-CV-02791-JPB
                                              )
VICTOR HILL, in his official capacity as      )
Sheriff of Clayton County, Georgia, et al.,   )
                                              )
       Defendants.                            )

         NOTICE TO TAKE DEPOSITION OF DEMARCUS STONE

To:    Demarcus Stone
       c/o Ryan Primerano
       Southern Center of Human Rights
       60 Walton Street
       Atlanta, Georgia 30303

       PLEASE TAKE NOTICE that on December 1, 2021, beginning at 11:30 a.m.,

counsel for Defendants, pursuant to Rule 30 of the Federal Rules of Civil Procedure,

shall take the deposition of Demarcus Stone upon oral examination before a certified

court reporter or some other officer duly authorized by law to take depositions and

administer oaths at the Clayton County Jail at 9157 Tara Blvd., Jonesboro, Georgia

30236. The deposition will be recorded by stenographic means and may also be

recorded by audiovisual/video means. The oral examination will continue from day

to day until its completion.
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      Respectfully submitted this 11th day of November 2021.

                                    FREEMAN MATHIS & GARY, LLP

                                    /s/ A. Ali Sabzevari
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                                    Attorneys for Defendants




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day served the foregoing NOTICE TO TAKE

DEPOSITION OF DEMARCUS STONE to the Clerk of Court using the CM/ECF

system which will automatically send electronic mail notification of such filing to

all counsel of record.

      This 11th day of November 2021.


                                      FREEMAN MATHIS & GARY, LLP


                                      /s/ A. Ali Sabzevari
                                      A. Ali Sabzevari
                                      Georgia Bar No. 941527
                                      asabzevari@fmglaw.com


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